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              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OHIO
                        EASTERN DIVISION


 Nathan Roberts and Freedom Truck
 Dispatch LLC, on behalf of themselves
 and all others similarly situated,

                        Plaintiffs,
                                                Case No. 1:23-cv-01597
 V.

 Progressive Preferred Insurance
 Company, et al.

                        Defendants.


             AFFIDAVIT OF NICHOLAS R. BARRY IN SUPPORT OF
                  MOTION FOR ADMISSION PRO HAC VICE
      Nicholas R. Barry appeared in person before me today and stated under oath:

      1.   My name is Nicholas R. Barry. I am senior litigation counsel at America First

Legal Foundation.

      2.   My business address is 300 Independence Avenue, SE, Washington, DC

20003.

      3.   I am a member in good standing of the Tennessee bar.

      4.   I have attached a current certificate of good standing from the Supreme

Court of Tennessee, dated November 1, 2023.

      5.   I was admitted to the Tennessee bar on November 5, 2013.

      6.   My Tennessee bar identification number is 031963.

      7.   I have never been disbarred or suspended from practice before any court,

department, bureau or commission of any State or the United States. Nor have I been

reprimanded by any court, department, bureau or commission pertaining to my con-

duct or fitness as a member of the bar.




Barry affidavit                                                              Page 1 of2
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    8.    I respectfully request pro hac vice admission in this matter.



    This concludes my sworn statement. I swear under penalty of perjury that, to the

best of my knowledge, the facts stated in this affidavit are true and complete.




Subscribed and sworn to me
this \St day of Ott(V\'l\i(2023




         My Commission Expires
           September 8, 2025




Barry affidavit                                                             Page 2 of2
